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                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

DAVID LOTT, et al.                                 Case No. 1:15-cv-00418

        Plaintiff,                                 Judge Michael Barrett

v.
                                                   JOINT MOTION TO APPROVE
PANTHER DEVELOPMENT                                SETTLEMENT AGREEMENT AND
INVESTMENTS, LLC                                   DISMISS CASE

        Defendant.

        Plaintiffs Bruce Lott, David Lott, and Lott Consulting, LLC and Defendant Panther

Development Investments, LLC provide the following Joint Motion to Approve Settlement

Agreement and Dismiss Case. The parties have resolved their claims. For the reasons stated in

the attached Memorandum, this Motion should be granted by the Court. A proposed Order is

being submitted to the Court’s chambers.

Respectfully submitted,

/s/ Jennifer Snyder Heis                         /s/ Louis C. Schneider
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                                         MEMORANDUM

        This lawsuit arises out of Defendant Panther Development Investments, LLC, (“PDI”)

having contracted with the Plaintiffs to perform certain work in connection with a construction

project in Mandaree, North Dakota. Various disputes have arisen between the parties regarding

the work performed on the construction project, resulting in several lawsuits having been filed.

PDI first filed suit against Plaintiffs in the United States District Court for the Southern District

of Florida. Due to jurisdictional concerns, PDI dismissed that action and filed a similar lawsuit

in the District Court for the Northwest Judicial District, McKenzie County, North Dakota.

Around the same time, Plaintiffs filed the instant lawsuit in this Court. In this lawsuit, Plaintiffs

David Lott and Bruce Lott asserted claims for alleged unpaid wages, and David Lott specifically

asserted claims pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (the “FLSA”).

(See Complaint, ¶¶ 38-44.)

        While Defendant PDI continues to deny that it has any liability to David Lott or Bruce

Lott for unpaid wages under the FLSA or otherwise, the parties have resolved their claims

against each other, including Plaintiffs’ claims giving rise to this suit. The parties have entered

into a confidential Settlement Agreement that the Court has been requested to approve. The

Settlement Agreement is being submitted to the Court’s chambers for review but not filed due to

its confidential nature.

        When an employee brings a private action for back wages under the FLSA, and the

Parties present to the District Court a proposed settlement, the District Court may enter an Order

approving the settlement after scrutinizing the settlement agreement and concluding that it is a

fair and reasonable resolution of a bona fide dispute over wages under the FLSA. Lynn’s Food

Stores v. United States, 679 F.2d 1350, 1355 (11th Cir. 1982).



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       The parties have filed several lawsuits regarding their disputes, demonstrating a bona fide

dispute regarding entitlement to alleged unpaid wages or overtime wages. The settlement

agreement resolves that bona fide dispute, and represents the desire and agreement of the parties

to avoid the costs and uncertainties of further litigation.

       The parties jointly request that this Court approve the Settlement Agreement and dismiss

the instant case. The parties further request that the Court retain jurisdiction to enforce the

settlement Agreement. A proposed Order is being provided by the parties.



Respectfully submitted,

/s/ Jennifer Snyder Heis                               /s/ Louis C. Schneider
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